                       Case 4:17-cr-00061-BMM Document 57 Filed 02/28/18 Page 1 of 7

AO 245B (Rev. 0211&)   Judgmeot in a Criminal Case
                       Sheet 1
                                                                                                                            FILED
                                            UNITED STATES DISTRICT COURT                                                     FEB 2 B 2018
                                                                 District of Montana
                                                                                                                          Clerk, u.s [JiSi::o' Court
                                                                          )
                UNITED STATES OF AMERICA                                  )         JUDGMENT IN A CRIMINAL!:t'~~: ~~:~\a"a
                                    v.                                    )
                       BRITTANY MARTELL
                                                                          )
                                                                                    Case Number: CR 17-61-GF-BMM-02
                                                                          )
                                                                          )         USM Number: 16956-046
                                                                          )
                                                                          )          Paul Gallardo
                                                                          )         Defendant's Attorney
THE DEFENDANT:
1!1 pleaded gUilty to oount(s)           2 of the Indlctm=en:.::t:...-_ _ _ _ _ __

o pleaded nolo contendere to eount(s)
   which was aecepted by the court.
o was found guilty on count(s)
   aftcr a pica of not guilty,

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of OffeRs.                                                       Offen•• Ended
 21 U.S.C, §§ 841(a)(1). (b)(1XB)    Possession with Intent to Distribute Methamphetamine                    June 2017                   2




       The defendant is sentenced as provided in pages 2 tI1rough               7          ofthisjudgmcnt. The sentence is imposed pursuant to
the Sentencing Refom1 Act of 1984.

o The defendant has been found not guilty on eount(s)
IiZl Count(s)     1.______________________ Glis                    o are dismissed on the motion of the United States.
         It is ordered that the defendant must notifY the United States attorney for this district within 30 days of any ehange of name, residence,
or mailing address until all fines, restitution, eosts) and special assessments imposed by this jud~ent are fully paid. If ordered to pay reslitution,
the defendant must notify thc court and United States attorney of material changes in economIC cireumstances.




                                                                         Brian Morris, United States District Judge
                                                                        Name and Title (Jf Judge


                                                                         2/27/2018
                                                                         na..
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AO 2458 (Rev.0211&) Judgment in Criminal Case
                    Sheet 2 - Imprisonment

                                                                                                     Judgment - Page _-,Z=-_ of   _ _7_~
 DEFENDANT, BRITTANY MARTELL
 CASE NUMBER, CR 17-61-GF-BMM-02

                                                             IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 tenn of:

  9 months,




     ft1 The court makes the following reeommendations to the Bureau of Prisons:
  The defendant should participate in the Bureau of Prisons' SOO-hour Residential Drug Treatment Program, if eligible,




    o The defendant is remanded to the eustody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
      o at                                  0 a,m.       o p,m. on
            o as notified by the United States Marshal.
    I!f The defendant shall surrender for service of sentenee at the institution designated by the Bureau of Prisons:
            o before 2 p.m. on
            ~ as notified by the United States Marsh.l.
            o   as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                        to

at _ _ _ _~ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL



                                                                            By
                                                                                             DEPUTY UNITED STATBS MARSHAL
                       Case 4:17-cr-00061-BMM Document 57 Filed 02/28/18 Page 3 of 7

 AO 2458 (Rev. 02118) Judgment in a Crimioal Case
                      Sheet 3 - Supervised Release
                                                                                                          Judgment-Page: ~ (j(           7
 DEFENDANT: BRITTANY MARTELL
 CASE NUMBER: CR 17-61-GF-BMM-02
                                                       SUPERVISED RELEASE
Upon release from imprisonment~ you will be on supervised release for a term of:
     3 years.




                                                     MANDATORY CONDITIONS

1.     You must not commit another federal, state or local crime,
2.     You must not unlawfully possess a controlled substance.
3.     You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release from
       imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                oThe above drug testing condition is suspended) based on the eourt!s deteI1lltnation that you
                  pose a low risk of future substance abuse. (check tf'appJicaM!)
4,      0   You must make restitution in accordance with 18IJ.S,C, §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution, (check if (tpplicab/~)
5,      !!1 You must eooperate in the eollection of DNA as direeted by the probation officer. (cJwck i/app/icahle)
6,      0   You must comply with the requirements of the Sex Offender Registration and NOlitie.tion Act (34 U.S,c. § 20901, eI seq,) as
            directed by the probation offieer, the Bureau of Prisons, or any state sex offender registration ageney in the location where you
            reside. work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.      0 You must participate in an approved program for domestic violence, (dred if applicable)




You must comply with the standard conditions that havc been adopted by this court as well as with any orher conditions on the auachcd
page.
                     Case 4:17-cr-00061-BMM Document 57 Filed 02/28/18 Page 4 of 7

 AO 2458 (Rev, 02'lS) Judgment in a Criminal Case
                      Sheet 3A ~ SupClVisoo ReltBSe
                                                                                               Judgment Page _ _ .~ of _                 1___
DEFENDANT: BRITTANY MARTELL
CASE NUMBER: CR 17-61-GF-BMM-02

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your' supervised release, you must comply with the following standard conditions ofsupen-ision, These conditions are imposed
because they establish lhe basic expectations for your behavior while on supervision and identify the minimum tools needcd by probation
officers to keep informed, report to the eourt about, and bring about improvements in your conduct and condition.

1,    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      releasc from imprisonment, unless the probation officer instructs you to report to a different probation office or within a dHn~rent time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court Or the probation officcr about how and
      whcn you must report to the probation officer, and you must report to the probation officer as instrueted.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or thc probation officer.
4.    You must answer truthfuUy the questions asked by your probation officer.
5,    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notifY the probation officer at least 10 days before the change. If notifYing
      the probation offieer in advance is not possible due to unanticipated circumstanccs. you must notifY the probation officer wilhin 72
      bours 0 f becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit thc probation offLcer to
      take any items prohibited by the conditions of yom supervision that he or she observes in plain view.
7.    You must work full time (at leaS! 30 hours per week) al a lawfullype of employment, unless the probation officer excuses you from
      doing so, Ifyou do not have full-time employment you must try to find full-time employment~ unless the probation officer exeuses
      you from doing so. If you plan to change where you work or anything about your work (sueh as your position or your job
      responsibilities), you must notify the probation officer at leas! 10 days before the change. If notifying the probation offieer at least 10
      days in advancc is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware ofa change or cxpected change.
S,    You must not communicate or interact with someone you know is engaged in eriminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without nrst getting the permission of the
      probation officer,
9,    If you are arrested or questioned by a law enforcement officer, you must notifY the probation officer within 72 hours.
10.   You must not own, possess; or have aecess to a fireann, ammunition. dcstruetive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific pUl]>ose of eausing bodily injury or death to another person sueh as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement ageney to aet as a confidential human source or infonnant without
      first getting the permission ofthe court.
12,   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notifY the person about the risk and you must comply with that instruction. The probation officer may contact the
      pcrson and confirm that you have notified the person about the risk.
13,   You must follow the instructions of the probation offieer related to the conditions ofsupervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a wrluen copy oflhis
judgment containing thcse conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www,uscouns.gov.


Defendant's Signature                                                                                    Date _ _ _ _ _.~_ _ _ _ __
                   Case 4:17-cr-00061-BMM Document 57 Filed 02/28/18 Page 5 of 7
 AO 245B(Rev. (2118) Judgment in a Qiminal Case
                     Sheet 3D - Supervised Releas\ll
                                                                                          Judgment   Page ~ Q:f ~~L           __
DEFENDA.'1T: BRITTANY MARTELL
CASE NUMBER: CR 17-61-GF-BMM-02

                                        SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall submit her person, residence, vehicles, and papers, to a search, with or without a warrant by any
probation officer based on reasonable suspicion of contraband or evidence in violation of a condition of release. Failure to
submit to search may be grounds for revocation. The defendant shall warn any other occupants that the premises may be
subject to searches pursuant to this condition. The defendant shall allow seizure of suspected contraband for further
examination.

2. The defendant shall participate in a program for mental health treatment as deemed necessary by the United States
Probation Office, until such time as the defendant is released from the program by the probation office. The defendant is to
pay part or all of the cost of this treatment, as directed by the United States Probation Office.

3, The defendant shall participate in and successfully complete a program of SUbstance abuse treatment as approved by
the United States Probation Office, until the defendant is released from the program by the probation office. The defendant
is to pay part or all of the cost of this treatment, as directed by the United States Probation Office.

4. The defendant shall abstain from the consumption of alcohol and shall not enter establishments where alcohol is the
primary item of sale.

5. The defendant shall participate in substance abuse testing, to include not more than 104 urinalysis tests, not more than
104 breathalyzer tests, and not more than 36 sweat patch applications annually during the period of supervision. The
defendant shall pay all or part of the costs of testing as directed by the United States Probation Office,

6. The defendant shall not possess, Ingest or inhale any toxic substances such as, but not limited to, synthetic marijuana
and/or synthetic stimulants that are not manufactured for human consumption, for the purpose of altering her mental or
physical state,

7, The defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or possess a medical
marijuana card or prescription.

8. All employment must be approved in advance in writing by the United Stales Probation Office. The defendant shall
consent to third-party disclosure to any employer or potential employer.

9, The defendant shall have no contact with co-defendant Landon Dupree without prior permission of the United States
Probation Office.
                       Case 4:17-cr-00061-BMM Document 57 Filed 02/28/18 Page 6 of 7
AO 2458 (Rev. (2118)   Judgment in It Criminal Case
                       Sheet 5 - Criminal Monetary Perlltitii:$
                                                                                                     Judgment   Page       6     of        7
 DEFENDANT: BRITTANY MARTELL
 CASE NUMBER: CR 17-61-GF-BMM-02
                                                 CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                       JVTA Assessment*              Fine                    Restitution
 TOTALS            S 100.00                       S NIA                        S WAIVED                   $ NIA



 o The determination of restitution is deferred until _ _ _ _ . An Amended Judgment in a Criminal Case (AO USC) will bc entered
      after such detennination.

 o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      ]fthe defendant makes a partial payment; eaeh payee shall receive an approximately proportioned 'pa~ent. unless specified otherwise in
      the priority order or percentage payment column below. However. pursuant to 18 U.S.C § 3664{i)t all nonfederaf victim'll must be paid
      bcfore the United States is p~nd.

 Name of Payee                                                       Total Loss**          R.. tltution Ordered           Priority or Percentage




TOTALS                                                            0.00                             0.00


o     Res.titution amount ordered pursuant to plea agreement $

o     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      lifteenth day after the date ofthe judgment, pursuant to 18 U.S.c. § 3612(1). All ofthe payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

o     The court detelTI1ined that the defendant does not have the ability to pay interest and it is ordered that:

      o the interest requirement is waived for the o fine 0 restitulion.
      o the interest requirement for the o fine 0 restitution is modified as follows:
• Justice for Victims of Trafficking Act of2015, Pub. L. No.1 14-22.
h Findings for tbe total amount oflosses are required under Chapters 109A. 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13,1994, but before April 23, 1996.
                       Case 4:17-cr-00061-BMM Document 57 Filed 02/28/18 Page 7 of 7
A0245B (Rev, QUIll) Judgment ina Cnminal Case
                       Sheet 6 _.. Schedule of Payments
                                                                                                                                7_ of
                                                                                                              Judgment ~ Page _ _                 --,7_ _
DEFENDANT: BRITTANY MARTELL
CASE NUMBER: CR 17-61-GF-BMM-02

                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay~ pa)ment of the total criminal monetary penalties is due as follows:

A     D Lump sum payment of $ _ _ _ _ _ _ _ due immediately, balance due

             o     not later than -:-;-___-c::---==--=::--=_' or
             D     in accordance with D C, D D,          D E, or                 D Fbclow;or

B     D      Payment to begin immediately (may be combined with               DC,          D D, or      D F below); or

C     0      Payment in equal                  (e.g•• weekiy, monthly, quarterly) installments of $                            O\'er a period of
            _ _ _ _ _ (e.g., months oryears)! to commence                        (e.g" 30 or 60 days) after the date of this judgment; or

D     D      Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                      over a pcriod of
            ----0-- (eg., months or years), to commence                               (e.g" 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E     III    Payment during the term of supervised release will commence within                  (e,g., 30 Qr 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time: or

F     0      Special instructions regarding the payment of criminal monetary penalties:

              Special assessment shall be immediately due and payable, While incarcerated, criminal monetary penalty
              payments are due at the rate of nolless than $25 per quarter, and shall be paid through the Bureau of Prisons'
              Inmate Financial Responsibility Program. Criminal monetary payments shall be made to the Clerk, United States
              District Court, Missouri River Courthouse, 125 Central Avenue West, Suite 110, Great Falls, MT 59404,
              "Assessment Brittany Martell",
Unless the court has expressJy ordered otherwise. if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shaH receive credit for aU payments previously made toward any criminal monetary penalties imposed.




o Joinr and Several
     Defendant and Co-Defendant Names and Case Numbers (including de/endant number). Total Amount, Joint and Se\'cral Amount,
     and corresponding payee. if appropriate.




D    The defendant shall pay thc cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payment, shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest., (4) fine principal, (5) fine
interest, (6) community restitution, (7) lVTA assessment, (8) penaities, and (9) costs, including cost of prosecution and court cost,
